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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA

v. Criminal} No. 1:19-CR-253

KRISTOPHER LEE DALLMANN, e7 al.,
Defendants.

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In this criminal copyright infringement case, the following matters are scheduled for
hearings on Thursday, September 17, 2020 at 2:00 p.m.: (1) the government’s Renewed Motion
Requesting Confirmation of Waiver of Attorney-Client Privilege, (2) defendant Kristopher
Datlmann’s Motion to Suppress Statements and Evidence, (3) defendant Jared Edward Jaurequi’s
Motion to Suppress Statements and Evidence, (4) the third petition for action on conditions of
defendant Jaurequi’s pretrial release and its addenda, and (5) (he petition for action on conditions
of defendant Dallmann’s pretrial releasc and its addenda. Because several witnesses are expected
to testify in the course of these hearings, it is necessary to adjust the scheduled times for these
hearings. Specifically,

e The evidentiary hearing on the government’s Rencwed Motion Requesting
Confirmation of Waiver of Attorncy-Client Privilege, defendant Kristopher
Dallmann’s Motion to Suppress Statements and Evidence, defendant Jarcd
Edward Jaurequi’s Motion to Suppress Statements and Evidence will be
rescheduled for Thursday, September 17, 2020 at 10:00 a.m.

+ The hearings on defendant Dallmann’s and defendant Jaurequi’s alleged
violations of the conditions of their pretrial release will be rescheduled for
Friday, September 18, 2020 at 9:00 a.m. Counsel for defendants other than
defendant Dallmann and defendant Jaurequi need not appear at the Friday,
September 18, 2020 hearings on the alleged violations of pretrial release.

Additionally, the government has filed a motion to preclude defendants lacking standing
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trom participating in cross-examination, adducing evidence, or providing argument during the
motions hearing. No defendant has opposed this motion. Because the government correctly
argues that there is no sound reason to permit any other defendants to participate in the motions
hearing, those defendants not implicated by the motions scheduled for a hearing on September
17, 2020 will not be permitted to participate in cross-examination, adduce evidence, or provide
argument related to those motions during the September 17, 2020 motions hearing.

Accordingly,

It is hereby ORDERED that the evidentiary hcaring on the government’s Renewed
Motion Requesting Confirmation of Waiver of Attorney-Client Privilege, defendant Kristopher
Dallmann’s Motion to Suppress Statements and Evidence, defendant Jared Edward Jaurequi’s
Motion to Suppress Statements and Evidence previously scheduled for Thursday, September 17,
2020 at 2:00 p.m. are RESCHEBULED to Thursday, September 17, 2020 at 10:00 a.m.

It is further ORDERED that the hearings on the third petition for action on conditions of
defendant Jaurequi’s pretrial release and its addenda, and the petition for action on conditions of
defendant Dallmann’s pretrial release and its addenda previously scheduled for Thursday,
September 17, 2020 at 2:00 p.m. are RESCHEDULED to Friday, September 18, 2020 at 9:00
a.m.

It is further ORDERED that the government’s Motion to Preclude Cross-Examination,
Adducement of Evidence, or Argument at Motions Hearing by Defendants Lacking Standing
(Dkt. 336) is GRANTED.

The Clerk is directed to send a copy of this Order to all counsel of record.

Alexandria, Virginia
August 17, 2020

 

T. S. Ellis, HJ
United States District Judge
